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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                      Norfolk Division

   COBALT BOATS, LLC,                            )
                                                 )
                    Plaintiff,                   )
         v.                                      )
                                                 )       No.: 2:15-CV-00021-HCM-LRL
                                                 )
   BRUNSWICK CORPORATION,                        )
                                                 )
                    Defendant.                   )


               COBALT BOATS, LLC'S MOTION FOR ATTORNEYS’ FEES

         Plaintiff Cobalt Boats, LLC ("Cobalt"), by counsel, moves the Court for a determination

  that this case is exceptional pursuant to 35 U.S.C. § 285. Further, Cobalt moves the Court to

  award it its reasonable attorneys’ fees, which are set forth in the corresponding memorandum in

  support and associated exhibits. In support of this Motion, Cobalt incorporates by reference the

  supporting memorandum filed contemporaneously herewith.



  Date: July 21, 2017                         Respectfully submitted,

                                              COBALT BOATS, LLC

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                                    CERTIFICATE OF SERVICE

            I hereby certify that on this 21st day of July, 2017, a copy of the foregoing was filed via

  the CM/ECF system which shall send electronic notification of such filing to all counsel of

  record.

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